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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:                                                    Case No. 8:17-bk-10364-MGW
                                                          Chapter 7
Gaston Osle,

      Debtor(s).
_____________________________/

                REPORT AND NOTICE OF INTENTION TO SELL
           PROPERTY OF THE ESTATE AND NOTICE OF ABANDONMENT
         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING
   Pursuant to local rule 2002-4, the Court will consider the relief requested in this
paper without further notice or hearing unless a party-in-interest files a response
within 21 days from the date set forth on the proof of service, plus an additional three
days for service if any party was served by U.S. mail.
    If you object to the relief requested in this paper, you must file your response with
the Clerk of the Court at Sam M. Gibbons Courthouse, 801 N. Florida Ave., #555,
Tampa, FL 33602-3899, and serve a copy on the Trustee, Christine L. Herendeen, at
P.O. Box 152348, Tampa, FL 33684, and any other appropriate person(s) within the
time allowed. If you file and serve a response within the time permitted, the Court
will either schedule and notify you of a hearing, or consider the response and grant or
deny the relief requested without a hearing.
   If you do not file a response within the time permitted, the Court will consider
that you do not oppose the relief requested in the paper, will proceed to consider the
paper without further notice or hearing, and may grant the relief requested.

TO:      Creditors, Debtors and Parties in Interest

         Christine L. Herendeen, the Trustee duly appointed and acting for the above-captioned
estate reports that she intends to sell and abandon the following property of the estate of the
Debtor(s), under the terms and conditions set forth below:
                       PROPERTY OF THE ESTATE BEING SOLD

    1.      Description of Property: Excess equity in 1992 Peter Built 378 with VIN No.
            1XPFDB9X2ND318291 of $1,500.00; clothes of $50.00; Checking Account with
            Chase of $320.00
    2.      Terms of Sale:
            a. To: Debtor(s)
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            b. Sale Price: Total is $1,870.00 to be paid in full on or before December 14,
                2018
            c. All right, title, and interest of bankruptcy estate, if any.
            d. Subject to all liens and encumbrances, if any. No warranties of no liens. No
                warranties of any kind. Subject to Debtor(s) allowed claim of exemption.
       The Trustee will entertain any higher bids for the purchase of the assets of the
Debtor(s) that the Trustee proposes to sell. Such bids must be in writing and accompanied by
a deposit of 100% of the proposed higher purchase price. Any higher bid must be received by
the Trustee at the address listed below no later than the close of business 21 days from the
date of mailing, as indicated in the Certificate of Service. If more than one bid has been
received, an auction will occur among said bidder(s) after 21 days.
       NOTICE IS HEREBY GIVEN that if no objection or request for hearing is filed
and served within twenty-one (21) days of the date of this report and notice, the
property described herein will be sold without further hearing or notice pursuant to
Local Bankruptcy Rule 6004-1.
                  PROPERTY OF THE ESTATE BEING ABANDONED

      PURSUANT TO 11 U.S.C. § 554 OF THE BANKRUPTCY CODE AND
FED.R.BANKR.P. 6007, NOTICE IS HEREBY GIVEN OF THE ABANDONMENT OF
THE FOLLOWING PROPERTY THAT IS BURDENSOME AND HAS NO EQUITY FOR
THE BENEFIT OF THE CHAPTER 7 ESTATE:
       1.       Scheduled real property:
       2.       Scheduled personal property: 2000 Chevrolet Van; household goods (sofa,
                loveseat, coffee table,2 end tables, bed, nightstand and dresser); TV; two (2)
                cats

  Dated: December 18, 2018
                                        Respectfully submitted,

                                        /s/ Christine L. Herendeen
                                        Christine L. Herendeen, Trustee
                                        P.O. Box 152348
                                        Tampa, FL 33684
                                        (813) 438-3833
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                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION
IN RE: GASTON OSLE                                              CASE NO: 8:17-bk-10364-MGW
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 12/18/2018, I did cause a copy of the following documents, described below,
Report and Notice of Intention to Sell Property of the Estate and Notice of Abandonment




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 12/18/2018
                                                          /s/ Christine L. Herendeen
                                                          Christine L. Herendeen
                                                          Herendeen Law, LLC
                                                          PO Box 152348
                                                          Tampa, FL 33684
                                                          813 438 3833
                            Case 8:17-bk-10364-MGW                  Doc 59        Filed 12/18/18        Page 4 of 6




                                        UNITED STATES BANKRUPTCY COURT
                                           MIDDLE DISTRICT OF FLORIDA
                                                 TAMPA DIVISION
 IN RE: GASTON OSLE                                                     CASE NO: 8:17-bk-10364-MGW

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 12/18/2018, a copy of the following documents, described below,

Report and Notice of Intention to Sell Property of the Estate and Notice of Abandonment




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 12/18/2018




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Christine L. Herendeen
                                                                            Herendeen Law, LLC
                                                                            PO Box 152348
                                                                            Tampa, FL 33684
                      Case 8:17-bk-10364-MGW
PARTIES DESIGNATED AS "EXCLUDE"                        Doc
                                WERE NOT SERVED VIA USPS    59 CLASS
                                                         FIRST    Filed  12/18/18 Page 5 of 6
                                                                      MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                FEDERAL NATIONAL MORTGAGE ASSOCIATION    MSNI FUND IV
1LABEL MATRIX FOR LOCAL NOTICING         SHD LEGAL GROUP PA                       CO LAW OFFICES OF DAMIAN G WALDMAN PA
113A8                                    PO BOX 19519                             10333 SEMINOLE BLVD 7
CASE 8-17-BK-10364-MGW                   FORT LAUDERDALE FL 33318-0519            UNITS 1 2
MIDDLE DISTRICT OF FLORIDA                                                        SEMINOLE FL 33778-4204
TAMPA
TUE DEC 18 10-41-28 EST 2018


DEBTOR                                   AR RESOURCES INC                         BANK OF AMERICA
GASTON OSLE                              BANKRUPTCY                               PO BOX 660807
4544 W HENRY AVE                         PO BOX 1056                              DALLAS TX 75266-0807
TAMPA FL 33614-5436                      BLUE BELL PA 19422-0287




BAYCARE HEALTH SYSTEMS                   CAVALRY SPV I LLC                        CAVALRY SPV II LLC
PO BOX 31696                             500 SUMMIT LAKE DRIVE STE 400            500 SUMMIT LAKE DRIVE STE 400
TAMPA FL 33631-3696                      VALHALLA NY 10595-2321                   VALHALLA NY 10595-2321




CBUSASEARS                               CHASE CARD                               CHOICE RECOVERY INC
CITICORP CREDIT SRVSCENTRALIZED          ATTN CORRESPONDENCE DEPT                 1550 OLD HENDERSON ROAD
BANKRUP                                  PO BOX 15298                             STE 100
PO BOX 790040                            WILMINGTON DE 19850-5298                 COLUMBUS OH 43220-3662
SAINT LOUIS MO 63179-0040




CITIBANK                                 CITICARDS CBNA                           CITIMORTGAGE INC
CITICORP CR SRVSCENTRALIZED BANKRUPTCY   CITICORP CREDIT SVCCENTRALIZED           ATTN BANKRUPTCY
PO BOX 790040                            BANKRUPT                                 PO BOX 6423
S LOUIS MO 63179-0040                    PO BOX 790040                            SIOUX FALLS SD 57117
                                         SAINT LOUIS MO 63179-0040




DEPARTMENT OF REVENUE                    FBCS INC                                 INTERNAL REVENUE SERVICE
PO BOX 6668                              330 S WARMINSTER RD                      CENTRALIZED INSOLVENCY OPERATIONS
TALLAHASSEE FL 32314-6668                SUITE 353                                PO BOX 7346
                                         HATBORO PA 19040-3433                    PHILADELPHIA PA 19101-7346




INTERNAL REVENUE SERVICE                 LAW OFFICE OF DAMIAN WALDMAN             MSNI FUND VI
PO BOX 7346                              PO BOX 5162                              CO DAMIAN WALDMAN ESQ
PHILADELPHIA PA 19101-7346               LARGO FL 33779-5162                      PO BOX 5162
                                                                                  LARGO FL 33779-5162




MAIN STREET ASSET SOL INC                SETERUS INC                              ST JOSEPHS HOSPITAL
PO BOX 12220                             14523 SW MILLIKAN WAY ST                 CO JOSEPH GIAMBALVO ESQUIRE
RENO NV 89510-2220                       BEAVERTTON OR 97005-2352                 1012 DREW STREET
                                                                                  CLEARWATER FL 33755-4521




SYNCHRONY BANK HH GREGG                  SYNCHRONY BANKLOWES                      SYNCHRONY BANKSAMS
ATTN BANKRUPTCY                          ATTN BANKRUPTCY                          ATTN BANKRUPTCY
PO BOX 965060                            PO BOX 965060                            PO BOX 965060
ORLANDO FL 32896-5060                    ORLANDO FL 32896-5060                    ORLANDO FL 32896-5060
                      Case 8:17-bk-10364-MGW
PARTIES DESIGNATED AS "EXCLUDE"                        Doc
                                WERE NOT SERVED VIA USPS    59 CLASS
                                                         FIRST    Filed  12/18/18 Page 6 of 6
                                                                      MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

                                         CM/ECF E-SERVICE                         CM/ECF E-SERVICE
SYNCHRONY BANKSAMS CLUB
ATTN BANKRUPTCY                          ROBERT M GELLER +                        UNITED STATES TRUSTEE   TPA713 7+
PO BOX 965060                            LAW OFFICES OF ROBERT M GELLER PA        TIMBERLAKE ANNEX SUITE 1200
ORLANDO FL 32896-5060                    807 W AZEELE STREET                      501 E POLK STREET
                                         TAMPA FL 33606-2209                      TAMPA FL 33602-3949




EXCLUDE                                  EXCLUDE                                  CM/ECF E-SERVICE
CHRISTINE L HERENDEEN ATTORNEY FOR       CHRISTINE L HERENDEEN +                  DAMIAN WALDMAN +
TRUSTEE                                  PO BOX 152348                            LAW OFFICES OF DAMIAN G WALDMAN PA
PO BOX 152348                            TAMPA FL 33684-2348                      10333 SEMINOLE BOULEVARD UNITS 1 2
TAMPA FL 33684-2348                                                               SEMINOLE FL 33778-4204




CM/ECF E-SERVICE                         CM/ECF E-SERVICE
ADAM A DIAZ +                            NOTE ENTRIES WITH A + AT THE END OF
SHD LEGAL GROUP PA                       THE
PO BOX 19519                             NAME HAVE AN EMAIL ADDRESS ON FILE IN
PLANTATION FL 33318-0519                 CMECF
